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   UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


       Everett McKinley Dirksen
                                                                                Office of the Clerk
       United States Courthouse
                                                                               Phone: (312) 435-5850
    Room 2722 - 219 S. Dearborn Street
                                                                               www.ca7.uscourts.gov
         Chicago, Illinois 60604




                                          NOTICE OF ORAL ARGUMENT
September 27, 2023

                                    KELLY J. CHAVEZ,
                                              Plaintiff - Appellant

No. 23-1196                         v.

                                    KILOLO KIJAKAZI, Acting Commissioner of Social Security,
                                             Defendant - Appellee
Originating Case Information:
District Court No: 1:22-cv-00062-WCL
Northern District of Indiana, Fort Wayne Division
District Judge William C. Lee


IT IS ORDERED that this case be orally argued on Tuesday, December 5, 2023, at 9:30 a.m. in
the Main Courtroom, Room 2721, of the United States Court of Appeals for the Seventh Circuit,
219 S. Dearborn Street, Chicago, Illinois.

Each side limited to 10 minutes. Counsel are advised that the panel of judges assigned to oral
argument may decide, after reading the briefs, that less time is required for oral argument.

IT IS FURTHER ORDERED that counsel notify the Calendar Clerk who will present oral
argument by completing the oral argument confirmation form and filing an electronic copy of
the completed form through the Electronic Case Filing (ECF) System. Notice of this case entry
must be received in the clerk's office no later than 5 days prior to the scheduled argument date.

Pursuant to General Order 22-005, entered on September 30, 2022, as part of the check-in
process in the Clerk's Office, all attorneys appearing for in-person argument must sign a
statement attesting that they have read and understood the self-certification requirement.

Option to Present Argument Telephonically or by Video Communications: The assigned panel
may, in its discretion, permit counsel to present oral argument telephonically or by a video-
communications platform approved by the court. Not later than 14 days before the argument
date, and after conferring with opposing counsel, a party may file a motion to present oral
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argument telephonically or by video communications. The motion shall: (1) state the reason for
the request; (2) state whether the request is opposed or unopposed; and (3) identify which
counsel wish to appear remotely.



Waiver of Oral Argument: Not later than 14 days before the argument date, counsel may file a
motion under Circuit Rule 34(e) to waive oral argument if the appeal can be resolved based on
the briefs and record and the decisional process would not be significantly aided by oral
argument. See FED. R. APP. P. 34(a). Counsel must first confer with opposing counsel before
seeking a waiver of oral argument, and the motion must state whether the request is opposed
or unopposed. The court prefers joint motions.

Copies of this notice have been sent to counsel of record.



NOTE: Please review the attached "Special Notice to Counsel Who Will Present Oral Argument" and "Current
COVID-19 Courtroom Procedures" for important requirements and information about oral argument in the
Court of Appeals.



form name: c7_NoticeOfOralArg   (form ID: 156)
